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                     UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA




      JEFFREY B. SEDLIK,                    CV 21-1102 DSF (MRWx)
          Plaintiff,
                                            ORDER LIFTING STAY AND
                       v.                   ORDER RE PRETRIAL AND
                                            TRIAL MATTERS
      KATHERINE VON
      DRACHENBERG, et al.,
          Defendant.



          The stay imposed on November 21, 2022 is lifted. The parties are
      ordered to meet and confer concerning the impact, if any, of the
      decision of the United States Supreme Court in Andy Warhol
      Foundation for the Visual Arts, Inc. v. Goldsmith. In addition, the
      parties are ordered to engage in a further effort to resolve this matter,
      either by private mediation, mediation with a member of the Court’s
      volunteer panel, or the assigned magistrate judge. If mediation is not
      successful, the parties are to provide the Court with appropriately
      revised pretrial documents that comply with the Court’s orders at the
      November pretrial conference, and proposed dates for a further pretrial
      conference (a Monday that is not a holiday) and trial (a Tuesday that is
      not a holiday no later than November 2023).

         IT IS SO ORDERED.



      Date: May 26, 2023                   ___________________________
                                           D  l S
                                           Dale S. Fi  h
                                                   Fischer
                                           United States District Judge
